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                EXHIBIT A
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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF PENNSYLVANIA
                             PITTSBURGH DIVISION


WENDELL H. STONE COMPANY, INC.
d/b/a STONE & COMPANY, individually and
on behalf of all others similarly situated,
                                                       Case No. 2:18-cv-01135-AJS
                        Plaintiff,

v.

PC SHIELD INC., an Oklahoma corporation,

                        Defendant.

     PLAINTIFF’S FIRST SET OF REQUESTS FOR ADMISSION TO DEFENDANT

       In accordance with Rules 26 and 36 of the Federal Rules of Civil Procedure, Plaintiff

Wendell H. Stone Company, Inc. (“Plaintiff” or “Stone & Company”), individually and on

behalf of the alleged class set forth in the Complaint (Dkt. 1), through its counsel, requests that

PC Shield Inc. (“Defendant” or “PC Shield”) admit or deny the following facts, under oath, and

to provide Your sworn answers to Patrick H. Peluso, Woodrow & Peluso, LLC, 3900 East

Mexico Ave., Suite 300, Denver, Colorado 80210, ppeluso@woodrowpeluso.com within thirty

(30) days of service.

                                      I.      DEFINITIONS

       1.      “Complaint” means and refers to the First Amended Class Action Complaint filed

in this lawsuit on June 19, 2019 (dkt. 22) and any subsequent Complaint filed in this litigation.

       2.      “Describe” when used in relation to any process, policy, act or event means to

explain the process, policy, act or event in complete and reasonable detail, stating the time, date,

and location, and identifying all persons participating or present.




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       3.      “Document” means any includes writings, communications, data, drawings,

graphs, charts, papers, letters, text messages, emails, sound recordings, images, and other data or

data compilations, including ESI, stored in any medium from which information can be obtained,

and any other materials considered a document under the Federal Rules of Civil Procedure.

       4.      “Electronically Stored Information” or “ESI” means computer generated

information or data, of any kind, stored on computers, file servers, disks, tape or other devices or

media, whether real, virtual, or cloud-based.

       5.      “Fax” means and refers to the facsimile attached as Exhibit A to the Complaint

and reattached as Exhibit A hereto.

       6.      “Identify” shall mean the following:

               a.      when referring to a person, means to give the person’s full name, present

       or last known address, telephone number(s) on file, email address, and when referring to

       a natural person, any dates you or any agent of yours called them or placed them on any

       internal Do Not Fax list. Once a person has been identified in accordance with this

       subparagraph, only the name of that person need be listed in response to subsequent

       discovery requesting the identification of that person;

               b.      when referring to documents, means to provide documents showing the (i)

       type of document; (ii) general subject matter; (iii) date of the document and period of use;

       and (iv) author(s), addressee(s) and recipient(s).

               c.      when referring to a communication, means to give documents showing the

       type of communication (i.e., telephone discussion, fax, email, face-to-face, etc.), the

       name and present address of each person present during the communication or who




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       otherwise viewed or heard the communication, and to state the subject matter of the

       communication and the date when it occurred.

       7.      “Internal DNC” or “Internal Do Not Fax List” means and refers to any internal list

of phone numbers you maintain of persons who have requested not to be called by You together

with any written policies and procedures regarding the maintenance and use of any such list.

       8.      “Junk Fax Prevention Act” means and refers to the TCPA, as amended in 2005,

including all rules and regulations set forth in 47 C.F.R. § 64.1200 et seq.

       9.      “Leads” or “Lead Information” means and refers to consumer personal identifying

information, including name, address, telephone number(s), IP addresses, login or session

activity, timestamps, email addresses, values for any column headers, and any other data

received by You from any third party.

       10.     “Person” means any natural person or any business, legal, quasi-governmental or

governmental entity or association.

       11.     “PC Shield” mean Defendant PC Shield, Inc. incorporated and existing under the

laws of the State of Oklahoma, and for the purposes of this discovery includes any of its present

or former directors, managers, employees, agents, corporate parents, subsidiaries, divisions,

subdivisions, affiliates, predecessors, successors, or joint ventures.

       12.     “Plaintiff” or “Stone” means the plaintiff in this action, Wendell H. Stone

Company, Inc., and any subsequent Persons added as Plaintiffs to the Complaint or any

subsequent or amended complaint.

       13.     “TCPA” or “Telephone Consumer Protection Act” means and refers to Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. and its implementing regulations, 47 C.F.R. §

64.1200, et seq.




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       14.      “You,” “Defendant,” or “Jordan” means Defendant Brandie M. Jordan a citizen of

the State of Oklahoma who resides at 1009 NE 6th Street, Moore, Oklahoma 73160. Brandie M.

Jordan is also known as Brandie M. Law, and is the incorporator, registered agent, and principal

of Defendant PC Shield, Inc.

                                     II.     INSTRUCTIONS

       1.       A matter is admitted unless, within 30 days after being served, You serve on the

requesting party, through its counsel, a written answer or objection addressed to the matter and

signed by You or Your attorney.

       2.       If a matter is not admitted, Your answer must specifically deny it or state in detail

why You cannot truthfully admit or deny it. A denial must fairly respond to the substance of the

matter; and when good faith requires that You qualify an answer or deny only a part of a matter,

Your answer must specify the part admitted and qualify or deny the rest. You may assert lack of

knowledge or information as a reason for failing to admit or deny only if You state that You have

made reasonable inquiry and that the information You know or can readily obtain is insufficient

to enable You to admit or deny.

       3.       The grounds for objecting to a request must be stated. You may not object solely

on the ground that the request presents a genuine issue for trial.

       4.       Where a request addresses acts or omissions of any entity, it shall be construed

and interpreted to apply to the acts or omissions of that entity and the acts or omissions of that

entity’s employees, assigns, contractors, and any other agent of that entity.

       5.       Unless otherwise stated, the relevant period of time is August 27, 2014 to the

present.




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       6.      “Each” shall mean “every” and vice-versa. The same shall apply to “any” or “all.”

“Including” means “Including but not limited to” or “including without limitation,” and “and”

encompasses “or” and vice-versa.

       7.      Unless otherwise defined, all words have their common meaning.

       8.      Defined terms need not be capitalized to retain their defined meanings.

                            III.      REQUESTS FOR ADMISSION

REQUEST TO ADMIT NO. 1

       Admit that You caused the Fax to be sent to Plaintiff.

       RESPONSE:



REQUEST TO ADMIT NO. 2

       Admit that the Fax is a genuine copy of a facsimile You caused to be sent to Plaintiff.

       RESPONSE:



REQUEST TO ADMIT NO. 3

       Admit that You sent the same or substantially similar Fax to Plaintiff and at least 1,000

other Persons during the relevant time period.

       RESPONSE:



REQUEST TO ADMIT NO. 4

       Admit that Plaintiff never provided You with any prior express permission or invitation

to send the Fax or any other faxes.

       RESPONSE:




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REQUEST TO ADMIT NO. 5

       Admit that You did not obtain express permission or invitation from any Persons to send

faxes prior to Your causing the Fax or other faxes to be sent to them.

       RESPONSE:



REQUEST TO ADMIT NO. 6

       Admit that You do not have any established business relationship with Plaintiff.

       RESPONSE:



REQUEST TO ADMIT NO. 7

       Admit that You do not have any established business relationship with any member of the

proposed Class set forth in the Complaint.

       RESPONSE:



REQUEST TO ADMIT NO. 8

       Admit that You sent at least one facsimile message to Plaintiff and to each member of the

proposed class set forth in the Complaint.

       RESPONSE:



REQUEST TO ADMIT NO. 9

       Admit that the Faxes that You caused to be sent were not solicited.

       RESPONSE:




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REQUEST TO ADMIT NO. 10

       Admit that the fax at issue announced to readers the commercial availability of property,

goods, or services.

       RESPONSE:



REQUEST TO ADMIT NO. 11

       Admit that You sent the Fax to Plaintiff in the same manner as You sent copies of the Fax

to the members of the proposed class set forth in the Complaint.

       RESPONSE:



REQUEST TO ADMIT NO. 12

       Admit that You continue to send unsolicited fax advertisements to members of the

proposed class set forth in the Complaint.

       RESPONSE:



REQUEST TO ADMIT NO. 13

       Admit that whether any member of the proposed class set forth in the Complaint provided

express permission or invitation to receive the Fax is a common question that can be answered

using common evidence.

       RESPONSE:



REQUEST TO ADMIT NO. 14




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       Admit that whether the Fax contained lawful opt-out language is a common question for

all members of the proposed class set forth in the Complaint that can be answered using common

evidence.

       RESPONSE:



REQUEST TO ADMIT NO. 15

       Admit that Plaintiff is an adequate class representative of the proposed class set forth in

the Complaint.

       RESPONSE:



REQUEST TO ADMIT NO. 16

       Admit that Plaintiff has no actual conflicts with any members of the proposed class set

forth in the Complaint.

       RESPONSE:



REQUEST TO ADMIT NO. 17

       Admit that Plaintiff has retained counsel experienced in class actions under the JFPA and

TCPA who have no actual conflicts with any members of the proposed class set forth in the

Complaint.

       RESPONSE:



REQUEST TO ADMIT NO. 18




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       Admit that the common questions of whether the Faxes were solicited and whether the

Faxes contained lawful opt-out language predominate over any potential issues affecting

individual members of the proposed class set forth in the Complaint.

       RESPONSE:



REQUEST TO ADMIT NO. 19

       Admit that maintaining a class action in this case would be manageable and superior to

any other methods for adjudicating the controversy.

       RESPONSE:




REQUEST TO ADMIT NO. 20

       Admit that the amounts in controversy presented individually by proposed members of

the Class are too low to encourage individual, non-class litigation.

       RESPONSE:



REQUEST TO ADMIT NO. 21

       Admit that individual litigation here would present a risk of inconsistent rulings.

       RESPONSE:



REQUEST TO ADMIT NO. 22




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       Admit that Your sending of the Faxes to Plaintiff and the members of the proposed class

set forth in the Complaint violated the TCPA, the JFPA, and their implementing regulations.

       RESPONSE:



REQUEST TO ADMIT NO. 23

       Admit that You or PC Shield maintains records from which You can identify all Persons

to whom You sent a Fax.

       RESPONSE:



REQUEST TO ADMIT NO. 24

       Admit that You were served with a copy of the Complaint and summons in this case on

or about September 22, 2018.

       RESPONSE:



REQUEST TO ADMIT NO. 25

       Admit that in sending the Faxes to Plaintiff and the other members of the proposed class

set forth in the Complaint You knowingly and willfully violated the JFPA.

       RESPONSE:



REQUEST TO ADMIT NO. 26

       Admit that You have complete control over the management and operations of PC Shield.

       RESPONSE:




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REQUEST TO ADMIT NO. 27

       Admit that PC Shield does not exist at any physical location.

       RESPONSE:



REQUEST TO ADMIT NO. 28

       Admit that You received all of the monies that were paid to PC Shield.

       RESPONSE:



REQUEST TO ADMIT NO. 29

       Admit that PC Shield is undercapitalized and does not maintain any moneys in any

financial accounts.

       RESPONSE:



REQUEST TO ADMIT NO. 30

       Admit that You are the sole shareholder, manager, and principal of PC Shield.

       RESPONSE:



REQUEST TO ADMIT NO. 31

       Admit that no article of incorporation exist for PC Shield.

       RESPONSE:



REQUEST TO ADMIT NO. 32




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       Admit that You utilized PC Shield’s name to fraudulently obtain payments from the class

members.

       RESPONSE:



REQUEST TO ADMIT NO. 33

       Admit that PC Shield does not sell the products and services that it claims to sell.

       RESPONSE:



REQUEST TO ADMIT NO. 34

       Admit that You have not maintained any corporate formalities on behalf of PC Shield.

       RESPONSE:



REQUEST TO ADMIT NO. 35

       Admit that PC Shield has not held any corporate meetings or management meeting

during its entire existence.

       RESPONSE:



REQUEST TO ADMIT NO. 36

       Admit that You are the alter ego of PC Shield.

       RESPONSE:

REQUEST TO ADMIT NO. 37

       Admit that You utilize PC Shield’s name to avoid legal liability.

       RESPONSE:




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                                          Respectfully,

Dated: June 20, 2019                      STONE & COMPANY, INC., individually,
                                          and on behalf of all others similarly situated,

                                          /s/ Patrick H. Peluso
                                          One of Plaintiff’s Attorneys

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                                          Counsel for Plaintiff and the Putative Class

                                          *pro hac vice admission




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